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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


AIJALON WALLACE MCLITTLE, II,

          Plaintiff,

v.                                                     Civil Case No. 05-70841
                                                       Criminal Case No. 95-81146-14
UNITED STATES OF AMERICA,                              Honorable Patrick J. Duggan

          Defendant.
                                         /


 OPINION AND ORDER DENYING PETITIONER’S MOTION FOR RELEASE
  PENDING APPEAL, DENYING AS MOOT PETITIONER’S MOTION FOR
   EXTENSION OF TIME,AND DENYING PETITIONER’S MOTION FOR
                      RECONSIDERATION

                         At a session of said Court, held in the U.S.
                       District Courthouse, City of Detroit, County of
                       Wayne, State of Michigan, on MAY 4, 2005.

          PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                             U.S. DISTRICT COURT JUDGE

       Petitioner Aijalon Wallace McLittle, II is a federal prisoner currently incarcerated at

the Federal Correctional Institution in Sheridan, Oregon. On October 28, 1997, Petitioner

filed a petition for writ of habeas corpus under 28 U.S.C. § 2255, raising ineffective

assistance of counsel, actual innocence, and misapplication of the Sentencing Guidelines.

This Court denied Petitioner’s § 2255 motion. McLittle v. United States, No. 97-75640 (E.D.

Mich. June 30, 1998). On March 4, 2005, Petitioner filed a successive petition for a writ of

habeas corpus pursuant to 28 U.S.C. § 2241, or in the alternative, pursuant to 28 U.S.C. §
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2255 challenging his sentence. In an Opinion and Order dated April 12, 2005, this Court

denied Petitioner’s writ pursuant to § 2255 because Petitioner failed to obtain permission

from the court of appeals to file a successive petition. The Court also denied Petitioner’s writ

pursuant to § 2241 because the petition was not properly filed in the court having jurisdiction

over the prisoner’s custodian. Presently before the Court are Petitioner’s Motion for Release

Pending Appeal, Petitioner’s Motion for Extension of Time, and Petitioner’s Motion for

Reconsideration.

     On March 18, 2005, Petitioner filed a Motion for Release Pending Appeal alleging that

he is actually innocent. Because this Court found that it could not reach the merits of

Petitioner’s writ of habeas corpus pursuant to § 2255 and § 2241, this Court does not believe

that release is appropriate.

     On April 28, 2005, Petitioner filed a Motion for Extension of Time seeking ten

additional days within which to file his Motion for Reconsideration. Local Rule 7.1(g)(1)

provides: “A motion for rehearing or reconsideration must be filed within 10 days after entry

of the judgment or order.” Rule 6 of the Federal Rules of Civil Procedure provides, in

pertinent part:

     (a) Computation. In computing any period of time prescribed or allowed by
     these rules, by the local rules of any district court, by order of court, or by any
     applicable statute, the day of the act, event or default from which the designated
     period of time begins to run shall not be included. . . . When the period of time
     prescribed or allowed is less than 11 days, intermediate Saturdays, Sundays, and
     legal holidays shall be excluded in the computation. . . .

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     (e) Additional Time After Service Under Rule 5(b)(2)(B), (C), or (D).
     Whenever a party has the right or is required to do some act or take some

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     proceedings within a prescribed period after the service of a notice or other paper
     upon the party and the notice or paper is served upon the party under Rule
     5(b)(2)(B), (C), or (D), 3 days shall be added to the prescribed period.

     In this case, the Court’s Opinion and Order was entered on April 12, 2005. Thus, the

time for filing a motion for reconsideration began to run on April 13, 2005. Plaintiff had 13

days (10 days set out in the L.R. 7.1(g)(1) plus 3 additional days pursuant to FED. R. CIV.

P. 6(e)) exclusive of Saturdays and Sundays to file his motion for reconsideration, or until

May 2, 2005. Because Plaintiff filed his Motion for Reconsideration on May 2, 2005, the

Court need not extend the time for filing and therefore, Plaintiff’s Motion for Extension of

Time is denied as moot.

     Petitioner’s Motion for Reconsideration is governed by Eastern District of Michigan

Local Rule 7.1(g)(3) which provides:

     (3) Grounds. Generally, and without restricting the court’s discretion, the court
     will not grant motions for rehearing or reconsideration that merely present the
     same issues ruled upon by the court, either expressly or by reasonable
     implication. The movant must not only demonstrate a palpable defect by which
     the court and the parties have been misled but also show that correcting the defect
     will result in a different disposition of the case.

     Thus the Court will grant a motion for reconsideration if the moving party shows: (1)

a “palpable defect,” (2) that the defect misled the Court and the parties, and (3) that

correcting the defect will result in a different disposition of the case. Sundberg v. Keller

Ladder, 189 F. Supp. 2d 671, 674 (E.D. Mich. 2002). A palpable defect is one which is

obvious, clear, unmistakable, manifest, or plain. Fleck v. Titan Tire Corp., 177 F. Supp. 2d

605, 624 (E.D. Mich. 2001).

     Petitioner has not alleged any “palpable defect by which the court and the parties have


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been misled.” E.D. MICH. L.R. 7.1(g)(3). In his Motion for Reconsideration, Petitioner notes

“This is the third time Petitioner has addressed §2255(3) to this court, [sic] have been

continually ignored and the court has failed to consider this ground . . .” (Mot. for

Reconsideration at 1). As stated above, the Court did not reach the merits of Petitioner’s

successive § 2255 because Petitioner failed to obtain permission to file a successive motion

from the court of appeals. Moreover, Petitioner’s Motion does not even articulate any reason

for reconsidering his petition pursuant to § 2241.

     Accordingly,

     IT IS ORDERED that Petitioner’s Motion for Release Pending Appeal is DENIED.

     IT IS FURTHER ORDERED that Petitioner’s Motion for Extension of Time is

DENIED AS MOOT.

     IT IS FURTHER ORDERED that Petitioner’s Motion for Reconsideration is

DENIED.




                                          s/PATRICK J. DUGGAN
                                          UNITED STATES DISTRICT JUDGE

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